      Case 2:12-cv-07001-CMR Document 3 Filed 02/19/13 Page 1 of 1




                         UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF PENNSYLVANIA

_______________________________
ERIN G. DESKO                   )
                                )                    Case Number 2:12-cv-07001
            Plaintiff           )
                                )
            vs.                 )
                                )
PORTFOLIO RECOVERY              )
ASSOCIATES, LLC                 )
A WHOLLY-OWNED                  )
SUBSIDIARY OF PORTFOLIO         )
RECOVERY ASSOCIATES, INC. )
                                )
            Defendant           )
_______________________________)



                         NOTICE OF VOLUNTARY DISMISSAL


       PLEASE TAKE NOTICE that plaintiff, Erin Desko, pursuant to Rule 41(a)(1)(i) of

the Rules of the United States District Court, hereby dismisses the action captioned above

with prejudice. Each party is responsible for their own attorney’s fees and costs.



                                      BY:_/s/ Brent F. Vullings
                                      Brent F. Vullings, Esquire
                                      Attorney for Plaintiff
                                      bvullings@vullingslaw.com
                                      Vullings Law Group, LLC
                                      3953 Ridge Pike, Ste. 102
                                      Collegeville, PA 19426
                                      610-489-6060
